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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



  United States of America,

               Plaintiff,                          Case No. 22-cr-20608

  v.                                               HON. SHALINA D. KUMAR

  Isiah Claiborne,

              Defendant.
       ________________________________________________________



                         Defendant Isiah Claiborne’s
                     Motion to Suppress Physical Evidence
                      And For an Evidentiary Hearing


         Defendant Isiah Claiborne, represented by attorney Henry M. Scharg,

  moves this Honorable Court to suppress all physical evidence obtained from

  the unlawful search of Defendant’s residence, 3711 Dakota Ave., Flint,

  Michigan, on October 1, 2021, executed by the Michigan State Police, the

  Flint Police, and the FBI in violation of the Fourth Amendment to the U.S.

  Constitution and for an evidentiary hearing.

         In compliance with E.D. Mich. LR 7.1(a)(2)(A), defense counsel

  contacted the Assistant U.S. Attorney, Jules Deporre, on June 8, 2024,



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  explained the nature of the motion and its legal basis and requested but did

  not obtain concurrence in the relief sought.



                                  Respectfully submitted,

                                  /s/ Henry M. Scharg
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  Dated: June 11, 2024




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


  United States of America,
              Plaintiff,                           Case No. 22-cr-20608

  v.                                               HON. SHALINA D. KUMAR

  Isiah Claiborne,
               Defendant.
      ________________________________________________________


                               Brief in Support of
       Defendant’s Isiah Claiborne’s Motion to Suppress Physical Evidence

                                      Facts

           Defendant Isiah Claiborne is charged in the Superseding Indictment

  with Count One: Conspiracy to Distribute and Possess with Intent to

  Distribute a Controlled Substance; Count Two: Possession with Intent to

  Distribute Heroin; Count Three: Possession with Intent to Distribute

  Methamphetamine; and Count Four: Possession with Intent to Distribute

  Cocaine. (Super. Indict., ECF No. 28, PageID.79).

           Law enforcement in this case began an investigation into the fatal

  shooting of Devaroe Davis, which occurred on August 17, 2021, in the

  parking lot of the Eagle Ridge Square Apartments. (Exhibit A – Warrant

  Affidavit, batch p. 36, ¶ 1). An unknown individual, “G-1,” told the police



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  that Codefendant Clifton Terry had shot at Davis and another person earlier

  on July 27, 2021. Id. at p. 37, ¶ 4. A person who lived at the apartments told

  the police that one of the suspects in the August 17, 2021 shooting of Davis

  was a black male with gold tipped dreadlocks. Id. at p. 37, ¶ 5.

        Security video from the apartments showed a black Ford Edge drive

  into the parking lot and stop next to Davis’s vehicle on the date Davis was

  murdered. Id. at p. 39, ¶ 10. The security video also showed a white Pontiac

  G6 without a license plate drive through the parking lot multiple times about

  an hour before the shooting. Id. at p. 40–41, ¶ 12. About 23 minutes later,

  the Ford Edge and Pontiac G6 were in the lot at the same time. Id.

        Earlier in the day of the August 17, 2021 shooting, an off-duty Flint

  Police officer saw a Black Ford Edge and White Pontiac G6 at a car wash,

  and he saw the occupants of both vehicles interacting. Id. at p. 41–42, ¶ 13–

  14. Security video from the car wash showed their interaction. Id. at p. 42, ¶

  15. Clifton Terry was driving a black Ford Edge with a white male

  passenger inside, and Isiah Claiborne was allegedly driving a white Pontiac.

  Id. at p. 42, ¶ 15. A white Pontiac G6 was registered to Claiborne. Id. at p.

  43, ¶ 16.

        The Flint Police have a “Flock System” that uses cameras to read

  license plates. Id. at p. 43, ¶ 17. A Ford Edge and Pontiac G6 were captured



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  on the Flock System were spotted in the vicinity of the Eagle Ridge Square

  Apartments the day of and just prior to the homicide of Davis at. Id. at p. 43,

  ¶ 17. Law enforcement conducted surveillance at Claiborne’s residence at

  3711 Dakota, Flint, and saw a Pontiac G6 parked their “frequently” and

  within the 48 hours prior to applying for the search warrant Id. at p. 45–46,

  ¶¶ 18–19.

         Based upon those facts, the Affiant for the warrant, MSP Detective

  Justin Clarke, believed Claiborne was driving the Pontiac G6 on the date of

  Davis’s shooting “acting as a lookout or surveilling Davis prior to his

  murder.” Id. at p. 46, ¶ 20. Det. Clarke also believed there was probable

  cause to believe Claiborne communicated via cell phone with the people in

  the Ford Edge. Id.      Clarke also claimed that it was “common to find

  controlled substances and credit cards/gift cards with scanners used to

  commit fraud” “in houses involving associates with [Codefendant Terry].”

  Id. at p. 49, ¶ 31.

         Law enforcement obtained the search warrant and executed it on

  October 1, 2021, seizing drugs that resulted in the charges brought in the

  Superseding Indictment, together with Claiborne’s cellular phone, several

  firearms and ammunition.




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                                    Argument


  I.    The search warrant lacked probable cause to search Defendant
        Claiborne’s residence.

        The Fourth Amendment prohibits the issuance of a search warrant

  without probable cause. U.S. Const. Amend. IV. Probable cause exists when

  there is “a fair probability, given the totality of the circumstances, that

  contraband or evidence of a crime will be found in a particular place.”

  United States v Davidson, 936 F.2d 856, 859 (6 th Cir. 1991) (quoting United

  States v Loggins, 777 F.2d 336, 338 (6th Cir. 1985)). “In determining

  whether probable cause existed to believe that evidence of criminal activity

  was located in a particular place at the time the search warrant was issued, a

  District Court considers the ‘totality of the circumstances’ presented in the

  search warrant affidavit.” United States v. Bullock, 130 F. App’x 706, 717

  (6th Cir. 2005) (citation omitted).

        A magistrate issuing a warrant must “make a practical, common-sense

  decision whether, given all the circumstances set forth in the affidavit before

  him, including the ‘veracity’ and ‘basis of knowledge’ of persons supplying

  hearsay information, there is a fair probability that contraband or evidence of

  a crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213,

  238-239, 103 S. Ct. 2317, 76 L. Ed. 2d 527 (1983). A search warrant



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  affidavit must contain sufficient allegations to support the magistrate’s

  finding that there is a “nexus between the place to be searched and the

  evidence sought.” United States v. Laughton, 409 F.3d 744, 747 (6th

  Cir.2005) (citation omitted).

        An officer’s statement that affiants have received reliable information

  from a credible person and do believe that evidence of criminal conduct is

  stored in a home, is inadequate. Gates, 462 U.S. at 239 (citation omitted).

  That would be “a mere conclusory statement that gives the magistrate

  virtually no basis at all for making a judgment regarding probable cause.

  Sufficient information must be presented to the magistrate to allow that

  official to determine probable cause; his action cannot be a mere ratification

  of the bare conclusions of others.” Id.

        An affidavit supporting a search warrant must describe a “nexus

  between the place to be searched and the evidence sought.” United States v

  Carpenter, 360 F.3d 594 (6th Cir. 2004). “The critical element is not that the

  owner of the property is suspected of crime but that there is reasonable cause

  to believe that the specific things to be searched for and seized are located

  on the property to which entry is sought.” United States v. Fraizer, 423 F.3d

  526, 532 (6th Cir. 2005). “[W]hether an affidavit establishes a proper nexus

  is a fact-intensive question resolved by examining the totality of the



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  circumstances.” United States v. Brown, 828 F.3d 375, 382 (6 th Cir.

  2916)(citing Illinois v. Gates, 462 U.S. 213, 238(1983); United States v.

  Myles, 2:17-cr-20700, ECF No. 22, Page ID. 117-133 (E.D. Mich. 2018).

        Mr. Claiborne maintains that the government has failed to

  demonstrate a reasonable basis upon which to conclude that the specific

  things searched for were located in the Dakota residence. In this case, an

  unknown individual, “G-1,” told the police that codefendant Terry had shot

  at decedent Davis and another person a couple of weeks before Davis was

  killed. (Ex. A, p. 37, ¶ 4). There is no indication about who G-1 is or the

  basis of his/her hearsay allegation that Terry had shot at Davis earlier. There

  was no indication about whether this was a first-hand observation or just

  rumors flying through the community. The warrant does not explain the

  veracity of that allegation or why G-1 is reliable, and there was no

  investigation by Affiant Clarke to corroborate G-1’s allegation. There was

  no indication that G-1 had provided reliable information to law enforcement

  in the past. The allegation is an important part of the warrant that connects

  Terry to the shooting and killing of Davis, which is then used to connect

  Claiborne to Terry and the shooting.

        “[A]n affidavit relying on hearsay ‘is not to be deemed insufficient on

  that score, so long as a substantial basis for crediting the hearsay is



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  presented.’” Gates, 462 U.S. at 241–242 (emphasis added) (citation

  omitted). A magistrate may credit such hearsay only “where a known

  person, named to the magistrate, to whose reliability an officer attests with

  some detail, states that he has seen a particular crime and particular

  evidence, in the recent past.” United States v. McIntosh, 109 F. App’x 65, 69

  (6th Cir. 2004) (citation omitted). An affidavit must state facts supporting an

  independent judicial determination that the informant is reliable such as a

  detailed description, first-hand observation, and independent corroboration.

  United States v. Allen, 211 F.3d 970, 975–976 (6th Cir. 2000).

        Additionally, Affiant Clarke added the claim that it was “common to

  find controlled substances and credit cards/gift cards with scanners used to

  commit fraud” “in houses involving associates with [Codefendant Terry].”

  (Ex. A, p. 49, ¶ 31). But a warrant cannot be supported “upon a mere

  affirmation of suspicion and belief without any statement of adequate

  supporting facts.” Nathanson v. United States, 290 U.S. 41, 46, 54 S. Ct. 11,

  13 (1933). Clarke does not explain how he was aware that Terry’s associates

  commonly possess controlled substances or scanners. The claims are

  unsupported by any investigation. Nothing in the Affidavit supports a

  finding of probable cause to believe Claiborne possessed evidence of

  criminal conduct including controlled substances, fraudulent credit cards,



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  weapons,    ammunition,     electronic     devices,   cellphones,   subscriber

  information, detail call records, social media accounts related to the

  homicide of Devaroe Davis, or that those items would be found at Mr.

  Claiborne’s residence. Det. Clarke’s limited knowledge that Claiborne was

  seen with Terry once at a car wash is not enough to find probable cause for

  issuance of a search warrant for Claiborne’s residence by that association.

        The only time Claiborne was allegedly seen driving a white Pontiac

  G6 was when he was allegedly at the car wash earlier the day of the

  shooting. Id. at p. 42, ¶ 15. The security video did not show who was driving

  when the vehicle was in the apartment parking lot. Also, Affiant Clarke

  makes an inferential leap to suggest that Claiborne was acting as a lookout,

  surveilling Davis, and communicating with the individuals in a black Ford

  Edge. Id. at p. 46, ¶ 20. Those are not facts, and the inference is not based

  upon any specific information or investigation about Claiborne’s

  relationship with Terry and/or with his associates, or how and if they

  commonly communicate.

  II.   The evidence must be suppressed under the exclusionary rule,
        and law enforcement did not have an objectively reasonable,
        good-faith belief that their conduct was lawful.


        The evidence seized from Claiborne’s residence was obtained as the

  fruit of the officers’ unlawful entry into 3711 Dakota Ave. on October 1,

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  2021. Sgt. Clarke’s Affidavit relied on unreliable hearsay, unsubstantiated

  allegations about Terry’s associates, and an unfounded inference that

  Claiborne was aiding and abetting anyone in the fatal shooting of Davis. The

  Affidavit lacked probable cause for the issuance of the search warrant.

        The Supreme Court created the exclusionary rule—a prudential

  doctrine which prohibits “evidence obtained in violation of the Fourth

  Amendment [from] be[ing] used in a criminal proceeding against the victim

  of the illegal search and seizure.” United States v. Calandra, 414 U.S. 338,

  347, 94 S. Ct. 613, 38 L. Ed. 2d 561 (1974). The rule is “designed to

  safeguard Fourth Amendment rights generally through its deterrent effect.”

  Id. at 348. However, “[t]he fact that a Fourth Amendment violation occurred

  … does not necessarily mean that the exclusionary rule applies." United

  States v. Moorehead, 912 F.3d 963, 967 (6th Cir. 2019) (citation omitted).

        The Supreme Court thus has created a “good-faith” exception to the

  exclusionary rule: the introduction of evidence obtained in violation of the

  Fourth Amendment is permitted in criminal trials when the evidence is

  “obtained in the reasonable, good-faith belief that a search or seizure was in

  accord with the Fourth Amendment.” United States v. Leon, 468 U.S. 897,

  909, 104 S. Ct. 3405, 3413 (1984) (citations omitted). Courts must ask

  “whether a reasonably well-trained officer would have known that the search



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  was illegal despite the magistrate's decision.” United States v. White, 874

  F.3d 490, 496 (6th Cir. 2017) (citations omitted). Leon delineated at least

  four instances in which a well-trained officer would have known a search

  was illegal, thus barring application of the good faith exception:

        [1] [I]f the magistrate . . . was misled by information in an affidavit
        that the affiant knew was false or would have known was false except
        for his reckless disregard of the truth . . . [2] where the issuing
        magistrate wholly abandoned [her] judicial role . . . [3] [where] a
        warrant [is] based on an affidavit so lacking in indicia of probable
        cause as to render official belief in its existence entirely unreasonable
        . . . [and [4] where] a warrant [is] so facially deficient—i.e., in failing
        to particularize the place to be searched or the things to be seized—
        that the executing officers cannot reasonably presume it to be valid.
        [Leon, 468 U.S. at 923.]

        When law enforcement officials have acted unreasonably, the

  exclusionary    rule   exists   to      suppress     evidence   gained   through

  unconstitutional means. United States v. Calandra, 414 U.S. 338, 348, 94

  S.Ct. 613, 38 L.Ed.2d 561 (1974); Nix v. Williams, 467 U.S. 431, 443, 104

  S.Ct. 2501, 81 L.Ed.2d 377 (1984) (“[T]he way to ensure [constitutional and

  statutory] protections is to exclude evidence seized as a result of such

  violations notwithstanding the high social cost of letting persons obviously

  guilty go unpunished for their crimes.”).

        The purpose behind exclusion is not to remedy the harm suffered by

  the victim of the illegal search, but rather “to deter future unlawful police

  conduct and thereby effectuate the guarantee of the Fourth Amendment

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  against unreasonable searches and seizures.” Calandra, 414 U.S. at 347, 94

  S.Ct. 613.

         Here, the search warrant was based on an Affidavit so lacking in

  indicia of probable cause as to render official belief in their existence

  entirely unreasonable. Exclusion in this case would protect the right to

  privacy for others after this case, and it would preserve judicial integrity. It

  would deter future unlawful police conduct such as the conduct here by

  inserting into the Affidavit unreliable hearsay, an unsubstantiated allegation

  about Codefendant Terry’s associates, and an unfounded inference that

  Claiborne was aiding and abetting the fatal shooting of Devaroe Davis.

  III.   Entitlement to an evidentiary hearing.

         “An evidentiary hearing is required ‘only if the motion is sufficiently

  definite, specific, detailed, and non-conjectural to enable the court to

  conclude that contested issues of fact going to the validity of the search are

  in question.’" U.S. v. Abboud, 438 F.3d 554, 577 (6th Cir. 2006) (citations

  omitted). Defendant Claiborne is entitled to an evidentiary hearing because

  he contests issues of fact in the Affidavit that resulted in the unlawful entry

  and search of his home without probable cause.




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        WHEREFORE, Defendant moves this Honorable Court to order an

  evidentiary hearing and to suppress at trial all evidence seized from

  Defendant’s residence at 3711 Dakota, Flint, Michigan on October 1, 2021.

                                 Respectfully submitted,

                                 /s/ Henry M. Scharg
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  Dated: June 11, 2024




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



  United States of America,

               Plaintiff,                           Case No. 22-cr-20608

  v.                                                HON. SHALINA D. KUMAR

  Isiah Claiborne,

              Defendant.
       ________________________________________________________



                              Certificate of Service


         I certify that on June 11, 2024, the above Motion was filed with the

  Clerk of the Court using the CM/ECF system, which served the document(s)

  to the parties of record.


                                          /s/ Henry M. Scharg
                                          HENRY M. SCHARG (P28804)
                                          Attorney for Defendant




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